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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 07-cv-02235-MSK-KMT

  DONALD N. TARANTO,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

         Defendant.


                                              ORDER


         This matter is before the Court on Plaintiff Donald N. Taranto’s Motion for Leave to File

  Second Amended Complaint (Doc. No. 30). For good cause shown in the Motion and in Exhibit

  A attached thereto, and in light of the liberal standards set forth in Rule 15, IT IS ORDERED:

         Plaintiff Donald N. Taranto’s Motion for Leave to File Second Amended Complaint is

  GRANTED. Plaintiff is given 10 days from the date of this Order to file the proposed Second

  Amended Complaint. Defendant shall plead in response within 10 days after service of the Second

  Amended Complaint.

         Dated this 27th day of February, 2008.



                                                      s/ Kathleen M. Tafoya
                                                      Kathleen M. Tafoya
                                                      United States Magistrate Judge
